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 3                       UNITED STATES DISTRICT COURT
 4                             DISTRICT OF NEVADA
 5   RAFAEL REID,                             Case No. 3:17-cv-00532-HDM-CLB
 6                          Petitioner,
          v.                                              ORDER
 7
     CCS BAKER, et al.,
 8
                          Respondents.
 9
10        Good cause appearing, Petitioner’s unopposed second Motion
11   for Extension of Time (ECF No. 43) is GRANTED.           Petitioner has
12   until November 12, 2020, to oppose Respondents’ Motion to Dismiss
13   (ECF No. 36).
14        DATED: this 20th day of October 2020.
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                                               HOWARD D. MCKIBBEN
17                                             UNITED STATES DISTRICT JUDGE
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